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EXHIBIT H-4
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                   )    MDL NO. 1456
AVERAGE WHOLESALE PRICE                          )
LITIGATION                                       )    CIVIL ACTION: 01-CV-12257-PBS
                                                 )
                                                 )    Judge Patti B. Saris
THIS DOCUMENT RELATES TO                         )
U.S. ex rel. Ven-A-Care of the Florida Keys,     )    Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., et al.        )
No. 06-CV-11337-PBS                              )

    NOTICE OF 30(B)(6) DEPOSITION OF THE CENTERS FOR MEDICARE AND
                           MEDICAID SERVICES

       PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, Abbott Laboratories, Inc. (“Abbott”) by its undersigned attorneys, will take the

deposition upon oral examination of one or more representatives of the Centers for Medicare and

Medicaid Services. This notice calls for testimony on the following topics originally set forth in

Abbott’s November 21, 2007 Letter:

       10.     Any communications by CMS, its employees, agents, or carriers, DOJ, or any
state Medicaid program to any compendia seeking to prevent, discourage, or alter in any way the
publication of AWP data.

       22.    All efforts taken to preserve evidence in response to the March 17, 2000 request
made by various pharmaceutical manufacturers that the government not destroy evidence
supporting those manufacturers' defenses in this case. See Ex. E to Abbott's Motion For a
Preservation Order and Affidavit Regarding Spoliation Issues (Sept. 13, 2007).


       The deposition will take place before a notary public, or any other officer authorized to

administer oaths, at Jones Day, 51 Louisiana Avenue, Washington, D.C. on October 16, 2009

beginning at 1:00 PM and continuing on successive days as necessary.

       Such deposition will be recorded by stenographic and/or sound and visual means. The

deposition is being taken for the purposes of discovery, for use at trial, and for such other

purposes as permitted under the Federal Rules of Civil Procedure.
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Dated: September 30, 2009             /s/ David S. Torborg
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                                     Brian J. Murray
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                                     Counsel for Defendant Abbott Laboratories, Inc.




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                                CERTIFICATE OF SERVICE

        I, David S. Torborg, an attorney, hereby certify that I caused a true and correct copy of
the foregoing NOTICE OF 30(B)(6) DEPOSITION OF THE CENTERS FOR MEDICARE
AND MEDICAID SERVICES to be served upon all counsel of record electronically by causing
same to be posted via LexisNexis this 30th day of September, 2009.



                                               /s/ David S. Torborg____
                                              David S. Torborg
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